    Case 2:21-cv-01993-GGG-DMD             Document 59        Filed 10/28/22     Page 1 of 1




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA



  CALVIN LEVY                                                       CIVIL ACTION
  VERSUS                                                            NO: 21-01993
  ZURICH AMERICAN INSURANCE                                         SECTION: T (3)
  COMPANY, et al.

                                            ORDER

       In accordance with the decision and reasoning of the Court of Appeals in its rulings denying

Plaintiff’s petition for writ of mandamus (R. Doc. 56) and his petition for rehearing (see R. Doc.

58), the Court has reviewed this case and its prior Order denying Plaintiff’s Motion to Remand.

Consequently, the Court will dismiss the federal case for want of jurisdiction and remand the case

to state court. Accordingly,

       IT IS ORDERED that the Order denying the Motion to Remand (R. Doc. 47) is

VACATED.

       IT IS FURTHER ORDERED that the Motion to Remand (R. Doc. 4) is GRANTED, and

this matter is remanded to Civil District Court, Parish of Orleans, for further proceedings. Each

party shall bear their own costs.

       New Orleans, Louisiana, this 28th day of October 2022.




                                                      GREG GERARD GUIDRY
                                                    UNITED STATES DISTRICT JUDGE
